                    Case: 25-1574
                   UNITED         Document:
                           STATES COURT OF9APPEALS
                                              Page: 1FORDate
                                                        THEFiled:
                                                             THIRD04/10/2025
                                                                    CIRCUIT

                                                     No. 25-1574

                        Atlas Data Privacy Corporation, et al.   vs. GoHunt LLC, et al.

                                                 ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:
 GoHunt, LLC, GoHunt Management Holdings, LLC, and GoHunt Management Holdings II, LLC

Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)                ✔ Appellant(s)
                                          ____                                 ____ Intervenor(s)

         ____ Respondent(s)               ____ Appellee(s)                     ____ Amicus Curiae

(Type or Print) Counsel’s Name David  E. Sellinger, Esq.
                               ________________________________________________________________
                                    ✔ Mr.
                                  ____         ____ Ms.   ____ Mrs. ____ Miss ____ Mx.

Firm Greenberg Traurig, LLP

Address 500 Campus Drive, Suite 400

City, State, Zip Code     Florham Park, NJ 07932


Phone 973.360.7900                                                     Fax 973.301.8410

Primary E-Mail Address (required) sellingerd@gtlaw.com
Additional E-Mail Address (1) claudia.budris@gtlaw.com
Additional E-Mail Address (2)
Additional E-Mail Address (3)

If your organization has created a common or general email address for purposes of receiving
ECF notices, that common email address MUST be one of the listed additional email addresses.
Notices generated from the Court’s ECF system will be sent to both the primary e-mail and additional
e-mail addresses. You are limited to 3 additional e-mail addresses.

SIGNATURE OF COUNSEL: /s/ David E. Sellinger

COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
NOTICES OR COPIES OF DOCUMENTS INCLUDING BRIEFS AND APPENDICES. ONLY
ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
